Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 1 of 30 PageID #: 375




 419 Aderhold Rd
 Saxonburg, PA 16056

 Hon. A.M. Donnelly, U.S. District Judge                                    „ i. .i c
 United States District Court, EDNY                                         CLCrws c'^FlCE
 225 Cadman Plaza,                                                   U.S.districtrr-'rrfs.i:
 Brooklyn, NY 11201                                                  ^           n g 201?

 Dear Judge Donnelly,                                                 BROOKLYN OFFICE
 Re: Sorenson v. Simpson     15 cv 4614(AMD/ST)


 I am the Pro Se Defendant in the above-captioned case. I write to respectfully request that the
 court reconsider Its decisions dated August 7, and May 2, 2017. denying my motion to dismiss
 plaintiffs Unjust Enrichment Claim. I move for reconsideration due to a recently discovered
 decision from the New York Supreme Court that bars Plaintiffs clam pursuant to principles of
 res judicata and collateral estopple. Alternatively, I request the Court's permission to file a
 motion to dismiss pursuant to Federal Rules of Civil Procedure 12(b)(1)for lack of subject
 matter jurisdiction.

 On or about August 16,2016,1 learned that the New York Supreme Court had rendered a final
 decision in Sorenson v. Winston & Strawn (index no. 158124/2015)on May 3, 2017. I write to
 draw Your Honor's attention to this decision, of which 1 do not believe the court was aware at
 the tie of Its August 7, 2017 decision. Attached as Exhibits A and B are copies of the court's
 decision and final order. In Sorenson v. Winston & Strawn LLP. Also included as Exhibit C is the
 docket from the case of Sorenson v. Winston & Strawn LLP so that the court may more easily
 follow the proceedings.

 In this case,the state Supreme court dismissed Plaintiff Sorenson's claim due to the doctrine of
 "Unclean Hands," barred him from recovering on his "Unjust Enrichment" claim. Judge Reed
 stated:
       The claim for unjust enrichment Is also without basis under the law. Here are the
       lines. There is not inducement and, importantly, there is no sense of an equity,
       which is the issue for unjust enrichment because here there is unclean hands where
       we have a violation of federal statute in the making of the very retainer agreement.

       In fact, we have a retainer agreement and the retainer agreement actually covers-
       even as unlawful as it Is -It was clear that the retainer agreement was intended to
       recover the entirety of the transaction. It leaves actually a motion of unjust
       enrichment goes by the wayside because there Is an applicable contract, unlawful
       as it may have been. Ex. A. pg 19, 10-23.
Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 2 of 30 PageID #: 376




  Almost exactly one year later, Judge Reed gave a final order as the "Plaintiff fails to offer
  matters of fact or law allegedly over looked or misapprehended by the court in determining the
  underlying motion      " Ex. B. pg. 1.

  Plaintiff Sorenson is the Plaintiff in both the state and federal courts. Defendant Simpson is not
  a party to the Sorenson v. Winston & Strawn case, but has privity because Winston & Strawn
  were representing Simpson at the time of the cause of action and the contract under dispute
  was signed by Sorenson and Simpson.

 There are two factors at work in the court's ability to resolve this issue. Res Judicata and
 Collateral Estoppel.

 Res Judicata example:
 Federal courts have traditionally adhered to the related doctrines of resjudicata (claim
 preclusion) and collateral estoppel(issue preclusion). Under RJ, a final judgment on the merits
 of an action precludes the parties...from re-litigating issues that were or could have been
 raised in that action. Under collateral estoppel, once a court has decided an issue of fact or law
 necessary to its judgment,that decision may preclude re-litigation of the issue in a suit on a
 different cause of action involving a party to the first cause. As this court and other courts have
 often recognized, res judicata and collateral estoppel relieve parties of the costs and vexation
 of multiple lawsuits, conserve judicial resources, and by preventing inconsistent decisions,
 encourage reliance on adjudication.
 Allan V. McCurry 449 U.S 90,94,101, S Ct. 411 (1980)


 A very clear example of res judicata appears in Cromwell v. County of Sac,94 U.S. 352, 24 L.Ed.
 195(1876). Speaking about res judicata, the Court said:

         The judgement if rendered upon the merits, constitutes as absolute bar to a
         subsequent action. It is a finality as to the claim or demand in controversy,
         concluding parties and those in privity with them, not only as to every matter
         which was offered and received to sustain or defeat the claim or demand, but as
         to any other admissible matter which might have been offered for that purpose.
         Id. at 352 LEd at 197.


 Collateral Estoppel example:
 "Once a court has decided an issue of fact or law, necessary to its judgement,that
 decision.-.precludes relitigating of the issue in a suit or a suit of a different cause of action
 involving a party to the first case." San Remo Hotel v. San Francisco 545 U.S. 323 92205)fn 16.


 Two more recent court decisions illustrate how collateral estoppel can be deployed by a party
 to resolve a lawsuit favorably and efficiently, often without the expense of fully litigating
Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 3 of 30 PageID #: 377




  disputed issues all the way to judgment. In November 2013, a Nevada federal court held in
  Rainero v. Archon Corp., No. 07-cv-01553, 2013 WL 5965(D. Nev. Nov.7, 2013),that a
  shareholder could rely on collateral estopple to prevent a corporation from disputing the
  correct redemption price for preferred shares where earlier lawsuits, to which the shareholder
  was not a party, resolved this issue against the corporation in summary judgment decisions.

  Similarly, in September of 2013, a New Jersey federal court held in Fresh Prepared Foods, Inc.

  V. Farm Ridge Foods LLC, NO. 10-6310, 2013 WL 4804816 {D.N.J. Sept. 9, 2013),that a plaintiff
  could rely on collateral estoppel to prevent a defendant in a trademark infringement suit from
  arguing that it was the proper owner of the disputed trademarks where the defendant had
  objected to the sale of the trademarked property in an earlier bankruptcy proceeding to which
  the plaintiff was not a party.

  Defendant is asking the court to reconsider its decision of August 7, 2017 and May 2, 2017
  based on the doctrines of Res Judicata and Collateral Estoppel, because of the recently
  discovered decision in Sorenson v. Winston & Strawn. These two doctrines are applicable in
  this case as the issues and parties are the same in Sorenson v. Winston & Strawn and Sorenson
  V, Simpson. Although Simpson was not a party, per se, in Sorenson v. Winston & Strawn,she
  had privity as Winston was representing her and the contract at issue is the exact same
  contract(2009 retainer agreement), and same issue. Unjust Enrichment, As the issues have
  already been litigated in the Supreme Court of New York.

  Sorenson has lost his Unjust Enrichment Claim, in a final decision, in the Supreme Court of New
  York. According the doctrines of Res Judicata and Collateral Estopple,the matter should rest as
  the claim has been adjudicated.



  Respectfully submitted.


                                                       Sandra Simpson
                                                       419 Aderhold Rd
                                                       Saxon burg, PA 16056
                                                       724-352-9206
                                                       simpsonfuture@gmail.com


  Dated: Aug. 28, 2017
          Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 4 of 30 PageID #: 378
■IFILED:       NEW YORK COONTY CLERK 06/10/20:                                      03:15     PM          INDEX NO." 158124/2015
 NYSCEF     DOC.    NO.   19                                                                       RECEIVED NYSCEF:     06/10/20i6

                     SUPREME COURT OF THE STATE OF NEW YORK
                                                   NEW YORK COUNTY

                                                                                                      PART
           PRESENT:              HON. ROBERT R. RFFn
                                                J.S c

                                                                                                      IftpEX NO.
              Index Number: 158124/2015
              SORENSON. ERIC                                                                          MOTION DATE.
              vs
                                                                                                      MOTION SEaNO..
              WINSTON & STRAWN, LLP
              Sequence Number: 001
              DISMISS
           The following papers, numbered 1 to.       , were read on diis motion to/for.
           Notice of Motion/Order to Show Cause — Affidavits — Exhibits                               |No(s)..
           Answering Affidavits — Exhibits                                                            |No(s).
           Replying Affidavits                                                                        iNo(s).

           Upon the foregoing papers, it is ordered that this motion is




 lU
 o
 H
 W

              decided in accordance with this Court's decision on the record. Defendant is directed to obtain a copy of
              the transcript of the proceedings, which shall be presented to this Court for "so ordering" within 14 days
 o
 UJ           of entry of this order.
 o:
 o:
 ui
 li.
 UJ
 a:
 >-

 3
 U.

 0
 UJ

S) o
UJ z
0^ i
«2 o
t" H
< s
1^
2 H
og
S u.


           Dated:                                                                                                          , J.S.C.


       CHECK ONE:                                             Dfl CASE DISPOSED                        □ NON-FINAL DISPOSITION
        MECK AS APPROPRIATE:                      MOTION IS: LifGRANTED            □ DENIED     □ GRANTED IN PART       □ OTHER
          'K IF APPROPRIATE:                                  □ SETTLE ORDER                           □ SUBMIT ORDER
                                                              □ DO NOT POST            □ FIDUCIARY APPOINTMENT       □ REFERENCE

                                                                   1   of   1
            Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 5 of 30 PageID #: 379
■IFILED: NEW YORK COONTY CLERK 06/22^2016 09:43 AMI                                           INDEX NO.         158124/2015

NYSCEF DOC.        NO.    20                                                         received.NYSCEF:, 06/22/2016



                                                                                                                    •1

                                                                                                 WBB
u              1                                                                        JUN 1 7.2016
               2         SUPREME COURT OF THE STATE OF NEW YORK
                                                                                   IVVS supreme COURT . CIVIL
                         COUNTY OF NEW YORK - CIVIL TERM - PART 43
               3

               4     ERIC SORENSON,

               5                                  Plaintiff,

               6                          -against-

               7     WINSTON & STRAWN, LLP,.

               8
                                                  Defendants..
               9                                                                   ■X
                     Index .# 158124/2015                      Proceedings
              lb
                                                               111 Centre Street
              11                                              New York, New York
    «•                                                        June 9, 2016
              12

J    •<-»
              13     B E FORE:
W
              14                          HONO^LE ROBERT R. REED,
                                                          Justice,
              15


              16
                     APPEARANCES:
              17
                               LAW OFFICE OF LORNA B.         GOODMAN
              18               551 Madison Avenue
                               New York, New York 10022
              19                    BY:  LORNA B. GOODMAN, ESQ.
                                          Attorney for. Plaintiff
              20
                               WINSTON 6 STRAWN,    LLP
              21               200 Park Avenue
                               New York, New York 10166
             22                     BY:   JOHN M. AERNI, ESQ.
                                          IAN T. HAMPTON, ESQ.
             23                           Attorneys for Defendant

             24


             25

D            26
                                                  DEBORAH A. ROTHROCK, RPR
                                                  Official Court. Reporter

                                     DEBORAH A.    ROTHROCK - OFFICIAL COTOT REPORTER


                                                          1   of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 6 of 30 PageID #: 380




u      1                           ••    -Proceedings-

       2                 THE COURT:     Appearances for the record.

       3                 MS. GOODMAN:     Good morning, your Honor.    M/ name is

       4       Lorna Goodman and I represent Eric Sorenson, Plaintiff in

       5       this case.


       6                 MR. AERNI:     Good afternoon, your Honors    Winston &

       1       Strawn, LLP, John Aerni and my colleague, Ian Hampton.

       8                 MR. HJ^MPTON:    Good afte;cnoon.

       9                 THE COURT:     Good afternoon.


      10                 Movant.


      11                 MR. AERNI:     Thank you, your Honor.

      12                 Your Honor, this is a mption to dismiss the amended

      13       complaint on the grounds that the claims in the amended
o
      14       complaint are illegally insufficient, they fail as a matter

      15       of law.

      16                 The crux of this case is that the attorney, Mr.

      17       Sorenson was representing a client, he was discharged,

      18       ultimately a recovery was had by the client euid Mr. Sorenson

      19       is claiming there is a charging lien against us, the

      20       succeeding attorneys.

      21                 The key to this case, your Honor, is a federal

      22       statute that makes clear'that.Mr. Sorenson's retainer

      23       agreement is unlawful and void' and that is the key to the

      24       whole matter.

      25                 And I guess the best way to start with the argument

      26       is to take us to the key moment in time which is May of
                                         2 of 20                        ^
                      DEBORAH A: ROTHROCK - OFFICIAL COURT REPORTER
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 7 of 30 PageID #: 381




o      1                                -Proceedings-

       2       2009, when the retainer agreeiaent at issue here was signed.

       3       At that time Mr. Sorenson —before that Mr. Sorenson had

       4       been representing the client in federal court.        He had

       5       brought claims for the client because the client had been

       6       detained in Libya and was suing the Libyan government.

       7                 7:HE COURT:   Right.

       8                 MR. AERNI:    The federal statutes were passed and

       9       made it clear that those claims,' if they were to be

      10       successful, had to be brought —they could not be brought in

      11       federal court anymore; they had to be brought before The

      12       Foreign Claims Settlement Commission — and 1 will just call

      13       that The Commission for short because it is a big mouthful.
o
      14                 So, as of May, 2009, the federal claims had already

      15       been dismissed.    Mr. Sorenson knew the claims had to be

      16       brought before The Commission.      He brought th^ a month or

      17       two later.

      18                 In May of 2009 he had his client sign a new

      19       retainer agreement that said that —provided for 33 and a

     20 .      third percent contingency fee recovery for the claims he was

      21       about to bring in front of The Commission and that is the

     22        key to this.   Because at that time there was a federal

     23        stahute that governed those claims being brought before The

     24        Co&uhission.   That statute existed then, it still exists

     25        today.   And if ever Congress drafted a statute to say we
u    26        mean what we say, it was Statute 22 USC 1623(f) and the

                     DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER


                                       3 of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 8 of 30 PageID #: 382




u     1                                -Proceedings-

      2       statute could not have been clearer.

      3                   It said to Mr. Sorenson — and another attorneys
                                                                   *■   •



      4       bringing claims before The Commission that the most you

      5        could ever, on any recovery before this Commission, there's

      6        an absolute limitation of a ten percent of the client's

      7        recovery is all you could ask for, that is our total

      8        absolute limit.     You cannot ask for expenses beyond that.

      9        Ten percent is the limit.       And, by the way, we mean it,
     10        counsel.

     11                    If you have an agreement which asks for more than

     12        ten percent, that agreement is unlawful and void.            And in
     13        case you still haven't gotten it, counsel, if you ever ask
o
     14        for more than that ten percent, if you ever demand it, if

     15        you ever receive it, ever receive more than ten percent,

     16        counsel, you have committed a crime.       I don't know how else
     17        Congress could have made its intent clearer.
     18                    Nonetheless, in May of 2009, Mr. Sorenson, knowing

     19        he had to bring claims in front of The Commission, had his
     20        client sign this unlawful and void retainer agreement.            And
     21        federal law makes it very clear that at that moment in time,

     22        before the ink ever dried on that retainer agreement, that

     23        was an unenforceable, unlawful and void retainer agreement.

     24        It was a nullity.     It was a nothing.    It was as if it never
     25        happened.     That is the retainer agreement on which Mr.
o    26        Sorenson, in this case, seeks to enforce a charging lien
                      DEBORAH A. ROTHROCK * Oi^XCIAl* GODR!S! B.BPOR'BFBr


                                       A   of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 9 of 30 PageID #: 383




u      1                                -Proceedings-

       2        against us.. The law makes clear he cannot do that.

       3                  There has. been no dispute in the papers that to

       4        enforce a charging lien there has to be an enforceable

       5        retainer agre^ent.     And the federal statute here makes

       6        clear, that there isn't.

       7                  And in their opposition papers Mr. Sorensoh,

       8        essentially says, well, those federal statutes-don't really

       9        apply to us.   You could server them. Judge.      Look at general

      10        principles of Mew York State Contract. Law and it says you

      11        could ignore that federal statute and just server that

      12        illegal provision.    There are two*problems with that, your

      13        Honor, or many problems but they break into two categories;
u
      14        one, is. that is totally wrong and two, is that is totally

      15        irrelevant.

      16                 It is totally irrelevant because New York -State Law

      17        on General Law of Contracts has no say here.       This is

      18       federal law.    Federal law trumps whatever New York State

      19        general'contract principles are.      That is what the supremacy

      20       clause is about; federal law controls here..

      21                 More importantly, whe.ther you look at federal law

      22       or New York State L^w they both say the same thing,.        They

      23       say when a statute is a clear and says you know, if a

      24       statute says this contract is void,and illegal, you cannot

      25       server that.    That is clear.     That is the^-end of the story.
u     26       If the contract is void and illegal.       It is void and

                      DEBORAH A, ROTHROCK - OFFICIAL COURT REPORTER


                                        5 of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 10 of 30 PageID #: 384




o       1                                  -Proceedings-

        2       illegal. .It was a nullity and never existed in the first

        3       place. That is what federal law says and that*^is what state
        4       law says.        ..

        5                 THE COURT;      It exists as proof of a crime.

        6                 MR. ^RNI:       There is that aspect.to it, your Honor,

        7       which is.actually relevant to at least two of Mr. Sorenson's

        8       claims.


        9                 In addition to the fact that the first, claim he

       10       can't seek to enforce a charging lien where there's not an

       11       enforceable retainer agre^ent. . There's also the secondary,

       12       totally,independent argument,, that- that       a dischaxge for

       13
O               cause.



       14                 Ms. Simpson, the client, is not here, in this',

       15       proceeding.   But it doesn't matter whether or not she knew,
       16       that was the reason for the discharge; whether she knew

       17.      about that this criminal behavior or she didn't at the time

       18       that she discharged Mr. Sorenson.' The law is that even if
       19       she didn't learn that until later that still is a discharge

       20       for cause and that is a second independent ground why Mr.

       21       Sorensoh cannot, recover on any charging.lien he's claiming

       22       here.


       23                 And second, it goes to. the second claim in Mr.

       24       Sorehson's complaint, which is the one for unjust

       25       enrichment.   Of course a defense for unjust enrichment is

       26       unclean hands.        What could be more unclean hands than

                        DEBORAH A. ROTHi^C^      OFFICIAL COimT REPORTER
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 11 of 30 PageID #: 385




o      1                                -Proceedings-

       2        violating a federal statute which existed there in May of

       3        2009.    And Mr. Sorenson, obviously, had a duty to look up

       4        the law that governed the proceeds before The Commission.

       5        We don't know if he looked it up and ignored the law or

       6        whether he just didn't look up the law; it doesn't matter.

       7        Either way that is a federal crime and he has unclean hands.

       8                   There are many other reasons for why the claim for

       9        unjust enrichment should be denied.

      10                   New York Law is very clear, in situations like

      11        this, in a situation where there is a discharged attorney

      12       and a succeeding attorney.         The law couldn't be clearer that

      13       it is not enough to say the succeeding attorney knew of the
o
      14       discharged lawyer's existence and even benefited in some

      15       form by that lawyer's work.        The law says that is not enough

      16       in these situations, otherwise there would be unjust

      17       enrichment claim in every case where there is a discharged

      18       attorney and a succeeding attorney.        The law says no, that

      19       is not sufficient.

      20                   The succeeding attorney has to either induce some

      21       reliemce on the part of the first lawyer or has to ask him

      22       for some work, ask him to do some work. . But none of that

      23       exists here.     Their own conqplaint acknowledges —in fact

      24       they conqplain about the very thing that shows their claim

      25       fails.     They claim that Winston never responded to Mr.
u     26       Sorenson, never returned his calls, didn't ask him to do

                        DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER


                                        7 of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 12 of 30 PageID #: 386




        1                                -Proceedings-

        2       anything, just ignored him.        That severs the link and means

        3       there's no unjust enrichment claim under the clear New York

        4       Law.   And the Gorelick case, again, involves in this court;

        5       it involves the same kind of fact pattern here of a

        6       discharged attorney and a succeeding attorney and this court

        7       said, no, there's just no connection there.        There's no

        8       connection sufficient for am unjust enrichment claim.

        9                 The third claim, the conversion claim, fails for

       10       number of reasons as well that we have set forth in our

       11       papers.   The foremost of which is this:      If this kind of

       12       fact pattern here today was a conversion claim, then ever

       13       case that ever comes before you is a converse claim.
o
       14       Because what the Plaintiff Mr. Sorenson is saying is,

       15       Winston & Strawn, you owe me some amount of money that is

       16       not yet defined.    And that is, therefore, because you did

       17       not give me some amount of money that is not yet defined,

       18       that is a conversion.

       19                 Any claim that comes in front of you that is about

       20       money would be conversion under that argument.        That is not

       21       a conversion, your Honor.      A generalized claim saying you

      22        owe me some money does not constitute a conversion.

      23                  THE COURT:   Let me hear from Ms.     Goodman.

      24                  MS. GOODMAN:    Thank you, your Honor.

      25                  First I would like to say something about the
u     26        Plaintiff Eric Sorenson.

                       DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER


                                         8 of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 13 of 30 PageID #: 387




u      1                                -Proceedings-

       2                   He works for the New York City Department of.

       3        Corrections.. . Although he attended law school .at night and
       4        duly passed the New York Bar he has never practiced law

       5        full-time.

       6                   He took this case to accommodate this brother —his

       7        older brother and his sister-in-law, Sandra Simpson, after
       8       failing to find other counsel .for them.      He tried to find

       9        someone else to take the case.     It was a very very hard

      10       case. ' .

      11                   The effort, he put forth and the results are truly

      12       astonishing.     A little like David and Goliath, he took on

      13       the Government-of Libya in the most distinguished Federal
u
      14       i^pellate Court in the country and achieved a singular

      15       victory.

      16                   After fighting off three motions to dismiiss in the

      17       Federal District Court and successfully arguing twice in the

      18       D.C. Circuit^ he. encibled Ms. Simpson to qualify for damages

      19       for hostage taking at the Administrative Tribunal, The

      20       Commission, as counsel mentioned, set up to compensate

      21     ' victims of international terrorism.      This is especially
      22       significant, aS Ms. Simpson Was not taken e3q>licitly as a
      23       hostage, which is a requirement for recovery under The

      24       Foreign Sovereign Immunities Act.

      25                   For example, her release was not conditioned upon
u    26        any concessions by t^e United States Government.        Yet to

                      DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER


                                       9 of 20
     Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 14 of 30 PageID #: 388




                                                                                   10



O        1                                -Proceedings-

         2       overcome this Mr. Sorenson cited all kinds of documents,

         3       including Libya's history of taking and releasing hostages,

         4       a 1997 Department of Defense Intelligence Report, a State

         5       Department Report entitled Patterns of Global Terrorism.

         6                 He ultimately convinced the D. C. Circuit that Ms.

         7       Sis^son's case could survive a motion to dismiss.

         8                 In this connection, I would urge your Honor to look

         9       at 470 Fd3d 356, which would give you the idea of the

        10       complexity and the difficulty that Mr. Sorenson was able to

        11       overcome in Federal Court.

        12                 He did this all over a nine and-a-half year period,

        13       funding it by himself, even borrowing money from a bank to
(J
        14       cover expenses.    He did it pursuant to two identical

        15       contingency retainers; one for Ms. Simpson and one for the

        16       Estate of her husband Dr. Mustafa Kareem.

        17                 Toward the end of the Federal court litigation

        18       Sorenson and Simpson began to negotiate a single retainer

       19        for both parties, as Simpson was now the sole heir of

       20        Kareem.   That was the motivation behind doing a new retainer

       21        agre^ent.    Because it was signed a year later doesn't mean

       22        that the initial intention at the time was anything other

       23        than to simplify the arrangement between them.

       24                  The revised rets-iner which made no — the original

       25        ref^iner made no ii^eution Of any specific case, or forum, qj:
O      26        ti^e IdLmit and Vi^s lajri^jsly a continuation of the original
                       DEBORAH A. ROTHRQCK - OFFICIAL COURT REPORTER


                                         10 of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 15 of 30 PageID #: 389




                                                                                  11



        1                                -Proceedings-
        2        retainer but was now updated to reflect the fact that Ms.

        3       Simpson was now heir to her husband's estate.

        4                  The revised retainer also explicitly superceded all

        5       other agreements and set forth what would happen should Ms.

        6       Simpson discharge Mr. Sorenson and go on to receive a

        7       monetary judgment or settlement.      Should that occur^ Ms.

        8       Simpson agreed to pay Mr. Sorenson all expenses and a

        9.      reasonable fee for his services.*

       10                  So this, in effect, is not a quantum meruit

       11       situation but one in which the monetary value is calculated

       12       in the same terms, expenses, and time spent.

       13                  Subsequent Ms. Sin^son became estranged from Mr.
u
       14       Sorenson's brother and without notice or explanation dropped

       15       Mr. Sorenson as counsel and engaged ffinston & Strawn to

       16       continue the case and engaged Mr. Sorenson; it also ha^^ened

       17       to be the same day that she served divorce papers on his

       18       brother.    So they were getting divorced.

       19                     clien^>pnly found out ^out his discharge by

       20              j      Commission to check on something in a brief he

                had recently filed with The Commission.       Winston & Strawn

       22       did not give him notice, Sandra Simpson did not give him

       23       notice and from then on he was in the dark.

       24                  Under the revised retainer, the only claim Mr.

       25       Sorenson had, and still has today, is for the time and
u      26       expenses he put.into Ms. Sixopson and her late husband's
                                        11 of 20
                       DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 16 of 30 PageID #: 390




                                                                                  12



u       1                                -Prpceedings-

        2       claim.     Gone are t:he contingency clauses of the earlier and

        3       later retainer.     Gone are the provision for sharing of

        4       expenses.     And gone was Mr. Sorenson's access to Ms.

        5       Sin^son.

        6                  To give you an idea of the probity of my client,

        7       the minute he heard that she was represented by another

        8       attorney he seized all communications with her.        In fact,

        9       when he later sent a notice of charging lien, it was sent to

       10       Mr. Braven of Winston & Strawn instead of directly to Ms.

       11       Sin^son.

       12                  Only after he learned that Ms. Simpson was no

       13       longer a client of Winston & Strawn did he resume limited
u
       14       communication with her.

       15                  At the time of his discharge Mr. Sorenson had filed

       16       six claims at The Commission and submitted numerous

       17       documents and briefs over a two and-a-half year period.        The

      iM               under which Ms. Simpson received a million dollars was

       19       initially filed and supported by Sorenson.

       20                  In our papers we have included a list of all of the

       21       documents prepared by Mr. Sorenson and siabmitted to The
                                                                   I




       22       Commission overtime; I will not go through this list but I

       23       urge your Honor to peruse it and credit the obvious; the war

      24        was based almost ICQ percent on the arguments and documents

      25        submitted by Eric Sorenson.
u     26                   This is explicitly acknowledged in the two

                      DEBORAH A. ROTHROCK      OFFICIAL COURT REPORTER


                                        12 of 20
     Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 17 of 30 PageID #: 391




                                                                                                     13



U        1            .                               Tproceedingis-

         2           pertinent awards by The Commission when it lists the

         3           documents relied upon and is" also evident in the Reasoning
         4           behind the awards, the- reasoning that was put forth by.

         5           Sorenson, in t^e first place.                  That is what this case is
         6           about.                     ^

         7                           Plaintiff is only asking for his fair ishare of the

        '8           ten percent fee received by Winston & Strawn.

         9     . .                   Admittedly, this Court will have to hold further

        10 j         hearings to determine the precise amount or I would urge
        11           sending to it. a Referee to determine the percentage of fee

        12           to which Sbrenson is entitled.                          .

       13                            In any case, it will be less than ten percent.             He
L)
        14           never demanded more than ten percent based on the claim

       15            before The Commission.             So, we have to realize

       16                            THE COURT:     What is the. doctuneht that you were .

       17            saying under which he seeks compensation?

       18                            MS.. GOODMAN:    It is called a contingent fee

       19            agreement and it is.in my brief, I believe, it's Exhibit 2.

       20                            THE COURT:     Exhibit 2.        That is the same one. that >

       21            they have talked about which is. the May 11th, 2009 and Ms.
       22            Simpson agrees to pay Eric Sotenspn 33 and a third percent

       23            of the.net of all siims.

       24            /               MS. GOODMAN:     Right.

       25                           If yOu go down that it says in the fifth paragraph,

       26            it says:.
                          ^   ^             ^        IJ of 20   ^
                                  DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 18 of 30 PageID #: 392




                                                                                  14



U       1                                  -Proceedings-

        2          .       If I terminate my attorney before k judgment or

        3       settlement —that in fact does occur and that happened — I
        4       understand I will be liable for all e3qpenses and a

       5        reasonable fee for his services.

       6                   THE COURT:     I understand.

       7                   MS. GOODMAN:     That is what he's asking for, a

       8        reasonable fee for his services.

       9                   THE COURT:     He's asking for a fee from Winston &

      10        Strawn?


      11                   MS. GOODMAN:     Yes, he is.    By way of charging lien.

      12        He is asking less than ten percent of the award.         He's

      13        asking for a percentage of the $100,000 they received.
u
      14                   THE COURT:   He is seeking condensation based on an

      15        illegal contingent fee agreement, illegal by virtue of the

      16        language of 22 USC 1623(f).

      17                   MS. GOODMAN:     Your Honor, what we are suggesting is

      18        under the rules of severability, this contract, there's only

      19      'one operable paragraph in this contract.

      20                   This contract provides for severability.

      21                   It says:   If I am discharged this is what I can

      22        get.

      23                   He was discharged and that is what he's trying to

      24               ifj^Qt a third ^— he's not trying to get a third of
      25       an;^l^.;^ng. He's trying to get a percentage of the ten
u     26       pettpnt — a percentage of the ten percent which Winston &
                       DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER


                                          14 of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 19 of 30 PageID #: 393




                                                                                   15



       1                        '         -Proceedings-

       2        Strawn pocketed.

       3                  I don't think the supremacy clause has anything to

       4       do with this.    The supremacy clause would apply if there

       5       were a state law that said you could get 20 percent from a

       6       Commission award.       That would be direct opposition to a

       7       federal law.    There's no federal law that says that you

       8       can't have —an agreement can't be severable.

       9                  THE COURT:     Winston & Strawn was successful in

      10       recovering an award on behalf of Ms. Simpson by going to the

      11       Federal Commission and prevailing under a pdfticular

      12       statute.

      13                  MS. GOODMAN:     No.    No.
o
      14             .    He prevailed under a claim that was originally made

      15       by Mr. Sorenson, originally supported by Mr. Sorenson,

      16       originally briefed by Mr. Sorenson.

      17                  THE COURT:    All Of in violation of that statute?

      18                  MS. GOODMAN:     No.

      19                  THE COURT:    Yes.     Because it was based on a

      20       retainer agreement that is unlawful under the statute.

      21                  MS. GOODMAN:    A section of a retainer which was

      22       never operative in this circumstances.        He never saw —

      23                  THE COURT:    First of all,- the prior retainer

      24       agreement looks eVen,         goodness, this is usurious.     The

     25        prior agreen^t to'I asking for 30 percent of the first
u    26        250,000 recovered, 25 percent of the next $250,000

                      DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER
                                         15 of 20..
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 20 of 30 PageID #: 394




                                                                                           16



O        1                                   -Proceedings-

         2.      recovered^. 20 percent of the next 500,000 recovered.

         3.                M3.- 600DM2VN:     Your Honor, when you add this up this

         4       is less than a third of the recovery,and this was filed with

        5        New York State Court as a retainer agreement; this is a

        6        Bloomberg form.

        7                  He worked all .these years and he got.not a penny.

        8        He did this because it was family. .He was hot an

        9.       experienced practicing lawyer.            He happens to have had a

       10       brilliant mind because he was able to get through the

       11.       Federal court.    He worked for 12 years,.and they did not. pay
       12        hdLm a. ceiit... And when he tried — even "when Mr, Brandon took

       13        over the case.    .,
u
       14                  THE COURT:   You have a separate metter. with—' is

       15        there a separate matter?

       16                 MS. G006maN:        Yes, there is a separate matter.-       We
       17       are suing. Simpson.

       18                 THE COURT:    That really is the place tc try to get

       19       this done.    As fat as Winston & Strawn concerned, they did

       20        what they were asked to do.            They did it in accordance with

       21       the federal statute.        They didn't depending upon the

       22       services of Mr.. Soretison and^ they were able to achieve the

       23       result:


       24                 MS. GOODMAN: . Your .Honor,. they depended.totally oh

       25       the. work of Mr. SbrensOn, 'the work prodtict of Mr. Sorenson.
u      26                 THE COURT:    D6 they have anything where they asked

                       DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER
                                            16 of 2.0
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 21 of 30 PageID #: 395




                                                                                  17



O       1                                 -Proceedings-
        2       for his assistance?

        3                  MS. GOODMAN:     No, I don't because they didn't.    You
        4       don't have to.    Under the Court of Appeals of the State of

        5       New York in the case of —it is in my brief.— I think it is

        6       Prompton .— you don't need to have --the behest requir^ent

        7       in unjust enrichment has been dropped.      You no longer have

        8       to— there's no privity necessary.

        9                  THE COURT:   The case is in the name.

       10                  MS. GOODM2^:    Also, when Mr. Bravon also violated

       11       the rules of proifessional responsibility.      He was sent a
       12       charging lien.    He was asked to notify Mr. Sorenson if the

       13       decision came down or if any money came down.       He absolutely

       14       ignored him.    Total violation of the Rules of Professional

      15        Responsibility.

      16                   THE COURT:   What responsibility did he have to your

       17       client?

       18                  MS. GOODMAN:    Once he received a charging lien

      19        knowing that my client had a financial interest in the case,

      20        he had an obligation to inform him not only when the

      21        decision came down but when the money came down.       It is

      22        well — under the rules of professional responsibility.

      23                   THE COURT:   I don't have any reason to deal with

      24        that.    You have claims to make against particular attorney

      25        under the Rules of Professional Responsibility you could
u     26        have your client make them.

                        DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER


                                          17 of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 22 of 30 PageID #: 396




                                                                                  18



u       1                                -Decision-

        2                 MS. GOODMAN:   Okay.

        3                 THE COURT:   Thank you.

        4                 Having heard from all counsel wit:h respect to the
        5       motion to dismiss the amended complaint and I have read the

        6       papers before in opposition to the motion.       It is this

        7       Court's view that the motion is well-taken and that it

       8        should be granted.

       9                  I have heard from Ms. Goodman regarding the

      10        exceptional efforts of her client over the years to try to,

      11        in good faith, provide services on behalf of Ms. Sin^son.

      12                  The case here is one with respect to a new attorney

      13        that has taken on the task that had originally been

      14        initiated by Mr. Sorenson.     In this Court's view the

      15        defendant has a right that the statute 22 United States Code

      16        Section 1623(f) is critical in that what it says is that the

      17        agre^ent, the retainer agreement, that Mr. Sorenson seeks

      18        to recover under, by way of all the complaints in this

      19        action is unlawful; unlawful under federal law to the extent

      20        that it is — it sought and was based upon a notion that it

      21        would be a 33 and a third percent recovery.      It was in

      22        violation of that federal statute which caps not only a

      23       recovery at ten percent, but caps any request at ten percent

      24       and identifies any retainer. agreement that seeks at any

      25       point in excess of ten percent recovery as unlawful and in
o     26       fact criminal and declare such contracts void.

                      DEBORAH A. ROTHROCK ^ OFFICIAL COURT REPORTER



                                       18 of 20
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 23 of 30 PageID #: 397




                                                                                  19



u      1                                 -Decision-

       2                 Accordingly, there is no basis under the law for a

       3       charging lien under.a void.contract.       There's no basis

       4       either under for a charging lien where there has been a

       5       basis for a dismissal for cause and a contract that is by

       6       definition unlawful and by definition criminal under the

       7       federal statute is one where there is a discharge for cause

       8       whether or not it was even'intended.      Accordingly, the claim

       9       for charging lien is without basis under the law.

      10                 The claim for unjust enrichment is also without

      11       basis under the law.     Here there are lines.    There is no

      12       inducement and, importantly, there are no sense of an

      13       equity, which is the issue for unjust enrichment because

      14       here there is unclean hands where we have a violation of

      15       federal statute in the making of the very retainer

      16       agreement.

      17                 In fact, we have a retainer agreement and the

      18       retainer agreement actually covers —even as unlawful as

      19       it's —it was clear that the retainer agreement was intended

      20       to recover the entirety of the transaction.       It leaves

      21       actually a motion of unjust enrichment goes by the wayside

      22       because there was an applicable contract, unlawful as it may

      23       have been.

      24                 The claim for conversion does not have merit and

      25       that conversion claim is simply about a recovery of money.
o     26       It is not any specific identifiable unique property, it is
                                       IQ of 20
                      DEBORAH A. ROTHROCK - OFFICIAL COURT REPORTER
    Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 24 of 30 PageID #: 398




                                                                                  20



O       1                                 -Decision-

        2       simply cash; as cash it is bonafide but it is not unique.

        3       Conversion is meant to address those types of ^ases where we
        4       have a specific property and even in those cases where

        5       involves money, it may be money that has been held in a

        6       particular form of security or some form of protected piece

        7       and this is not that.    This is simply there's been no

        8       assignment of money.    This is simply, if it could have been

        9       existed, it would have been some type of contract breach as

       10       a claim for recovery of money, not anything specifically

       11       identifiable as is necessary for conversion.

      12                  Accordingly, the motion to dismiss the amended

      13        complaint is hereby grcuited and the Court will hereby order
u
      14        the clerk to dismiss the amended complaint forthwith.

      15                  I direct counsel for defendant to order a copy of

      16        the transcript of today's proceedings, present it to the

      17        Clerk in Part 43 as soon as

      18        14 days, for so ordering to reflect the'Court's'»dedis^i^ and
      19        order of this date.

      20                  The record is closed.

      21                  (Whereupoh, the proceedji^^^^^^Su&ci.)
      22


      23
                          It is                              foregoing is a true
      24        and accurate


      25
o     26
                          DEBO:
                          Offic

                      DEBORAH A. ROTHROClt' - OFFICIAL COURT REPORTER

                                        20 of 20
                                                                    i/
         Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 25 of 30 PageID #: 399
     IFILED: NEW YORK CO                                         03/2017 0^:46 PMl                   INDEX NO. 158124/2015

     NYSCEF DOC. NO. 31                                                                       RECEIVED NYSCEF: 05/03/2017

                   SUPREME COURT OF THE STATE OF NEW YORK
                                                NEW YORK COUNTY

                               HON.ROBERT R. REED
         PRESENT:                                                                                PART        ifci
               Index Number: 158124/2015
               SORENSON. ERIC                                                                    INDEX NO.

               vs.
                                                                                                 MOTION DATE
               WINSTON & STRAWN. LLP
               SEQUENCE NUMBER:002                                                               motionseq.no.

               REARGUMENT/RECONSIDERATION

         The following papers, numbered 1 to     ,were read on this motion to/for.
         Notice of Motion/Order to Show Cause—Affidavits — Exhibits                              |No(s)..
         Answering Affidavits — Exhibits                                                         |No<s)..
         Replying Affidavits                                                                     |Na(s).

         Upon theforegoing papers,tt is ordered thatthis motion Is                   -r-           ,
         d\^ 1^/.^ 0.                                                                Xn            of Tf< XO+.on,
          ..
           S ^ c. \e<\ .               ^ "^e- cd>t«r+ 7<r»                       ® /aw alkfeolly^
                                                                             file-fer/-^ot«j -/A-c. UnJerl'ff'u^ WMhxt.

3
U
K
r
u
JL
IJ
K

5S
\%
U K
0 o
u z

25
u H




is
         Dated;                                                                                                        J.S.C.



 1. CHECK ONE:                                           ^CASE DISPOSED                          □ NON-FINAL DISPOSITION
 2. CHECK AS APPROPRIATE:                   MOTION IS: □ GRANTED             NDENIED       □ GRANTED IN PART        □ OTHER
 3. CHECKiFAPPROPRIATE:                                  □SETTLEORDER                            □ submit ORDER
                                                         □ do NOT POST          □ FIDUCIARY APPOINTMENT        □ REFERENCE

                                                                1   of   1
   8/27/2017
                                                                     11    Case Information
          Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 26 of 30 PageID #: 400
                                  r.                    'C                                         INDEX NO.:                  158124-20I5E
                                                                                                   PLAINTIFF:               SORENSON. ERIC
                                                                                                   DEFENDANT:            WINSTON & STRAWN, LLP


                                                                                                                            E-OTHER TORTS



                                                                                                                            Rf_".cO.          R.

     Home,SCROLL      CAL
                                                                                                                                                         Search

          KEY TO LINKS RFI OW

                                                                              Filter: Motion Number ▼
                                                                                                                                          Submit 1 1 Clear
     COLiM I Y CLERK iU FORM ATI OK
                                      Sort    Doc        Date                                                   Motion                             Payment
                                       By      it                          Document              Description                Filing User
               FULL CAPTIOM                            Received
                                                                                                                  #                                 Info

        COUNTY CLERK MINUTES

        CC.CIVIL INDEX INQUIRY                        2015-08-
                                                                    SUMMONS WITH NOTTCF
                                                                                                                               PETER
                                                         06                                                                                    AMOUNT:$
                                                                                                                           EIKENBERRY
                                                                                                                                              08/06/2015
         COURT iNFORiviATION

               CASE CAPTION
                                                      2015-08-
                                                                          COMPLAINT
                                                                                                                              PETER
          CASE INFORMATION                               06                                                                                    AMOUNT:$
                                                                                                                           EIKENBERRY
                                                                                                                                              08/06/2015
                ATTORNEYS

            APPEARANCES
                                                      2016-01-       SUMMONS rPRE RJI>
                                                                                                                              LORNA
                 MOTIONS
                                                         27               fAMENDEDI                                                           AMOUNT:$
                                                                                                                           GOODMAN
                COMMENTS                                                                                                                      01/27/2016

          ASSIGNED JUSTICE

                                                     2016-01-
                                                                                                                             LORNA
                                                                   COMPLAINT fAMENDFOl
                                                        27                                                                                    AMOUNT:$

                 T                                                                                                         GOODMAN
                                                                                                                                           01/27/2016



                                                     2016-01-       CONSENT TO CHANGE
                                                                                                                             LORNA
                                                        27          ATTORNEY fPRE RJH                                                         AMOUNT:$
                                                                                                                           GOODMAN
                                                                                                                                           01/27/2016


                                                                                                NOTICE OF
                                                                                                                                               VISA/MC
                                                                                               MOTION TO
                                                     2016-02-
                                                                     NOTICE OF MOTION                                                          AMOUNT:
                                                                                                DISMISS         001       JOHN AERNI
                                                        16
                                                                                                                                                   $45
                                                                                                AMENDED
                                                                                                                                          02/16/2016
                                                                                               COMPLAINT




                                                                                              MEMORANDUM

                                                                                               OF LAW IN

                                                                                              SUPPORT OF

                                                                                               WINSTON &
                                                     2016-02-     MEMORANDUM OF LAW IN

                                                       16                 SUPPORT
                                                                                              STRAWN LLP'S      001      JOHN AERNI       AMOUNT:$
                                                                                               MOTION TO
                                                                                                                                          02/16/2016
                                                                                              DISMISS THE

                                                                                               AMENDED

                                                                                              COMPLAINT




                                                                                              AFFIRMATION

                                                                                              OF JOHN M.
                                                                      AFFIDAVIT OR
                                                    2016-02-                                   AERNIIN
                                                                     AFFIRMATION IN
                                                                                                                001      JOHN AERNI       AMOUNT:$
                                                       16                                     SUPPORT OF
                                                                   SUPPORT OF MOTION
                                                                                              MOTION TO
                                                                                                                                          02/16/2016

                                                                                               DISMISS




http7/iapps.courts.state.ny.us/iscroll/SQLData.jsp?lndexNo=158124-2015&Submit2=Search                                                                      1/4

                                                                                         I//
        Case 1:15-cv-04614-AMD-SJB Document 54
8/27/2017                                    CaseFiled   08/28/17 Page 27 of 30 PageID #: 401
                                                  information


                                     Sort    Doc       Date                                                 Motion                   Payment
                                                                         Document           Description               Filing User
                                      By     #       Received                                                 #                        Info



                                                                                           EXHIBITS A - G

                                                                                           TO MOTION TO
                                                     2016-02-
                                                                        EXHIBITfS>           DISMISS         001     JOHN AERNl     AMOUNT:$
                                                        16
                                                                                             AMENDED                                02/16/2016

                                                                                            COMPLAINT




                                                                                                                                     VISA/MC

                                                     2016-02-        R3I -RE; NOTICE OP                                              AMOUNT:
                                             10                                                              001     JOHN AERNI
                                                        16                motion                                                       $95
                                                                                                                                    02/16/2016




                                                     2016-02-     AFFIRMATION/AFFIDAVIT                                LORNA
                                             11                                                                                     AMOUNT:$
                                                        22              OF SERVICE                                    GOODMAN
                                                                                                                                    02/22/2016




                                                     2016-03-                                                          LORNA
                                             12                    STIPULATION - OTHER                       001                    AMOUNT:$
                                                        03                                                            GOODMAN
                                                                                                                                    03/03/2016




                                                     2016-03-        STIPULATION - SO
                                             13                                                              001     COURT USER     AMOUNT:$
                                                        03               ORDERED
                                                                                                                                    03/03/2016




                                                     2016-04-     MEMORANDUM OF LAW IN                                 LORNA
                                             14                                                              001                    AMOUNT:$
                                                        20             OPPOSITION                                     GOODMAN
                                                                                                                                    04/20/2016



                                                                                            EX. H TO J.

                                                     2016-05-                              AERNI AFFIRM.
                                             17                         EXHIBITfSI                           001     JOHN AERNI     AMOUNT:$
                                                        11                                  - AMENDED
                                                                                                                                    05/11/2016
                                                                                            COMPLAINT




                                                                                              REPLY

                                                                                           AFFIRMATION

                                                                                            OF JOHN M.


                                                     2016-05-          AFFIDAVIT OR          AERNIIN
                                             16                                                              001     JOHN AERNI     AMOUNT:$
                                                        11         AFFIRMATION IN REPLY      FURTHER
                                                                                                                                    05/11/2016
                                                                                           SUPPORT OF

                                                                                            MOTION TO

                                                                                             DISMISS




                                                                                              REPLY

                                                                                           MEMORANDUM

                                                                                            OF LAW IN

                                                                                           SUPPORT OF

                                                     2016-05-     MEMORANDUM OF LAW IN      WINSTON &
                                             15                                                             001      JOHN AERNI     AMOUNT:$
                                                        11                REPLY            STRAWN LLP'S
                                                                                                                                    05/11/2016
                                                                                            MOTION TO

                                                                                             DISMISS

                                                                                             AMENDED

                                                                                            COMPLAINT




http://lapps.courts.state.ny.us/iscroll/SQLData.jsp?lndexNo=158124-2015&Submit2=Search
                                                                                          i/f                                                  2/4
        Case 1:15-cv-04614-AMD-SJB Document 54CaseFiled
8/27/2017
                                                          08/28/17 Page 28 of 30 PageID #: 402
                                                   Information


                                     Sort   Doc        Date                                              Motion                   Payment
                                                                        Document          Description              Filing User
                                     By      #       Received                                              #                        info



                                                                                           EX.I TO 3.

                                                     2016-05-                            AERNI AFFIRM.
                                      14     18                         EXHlBlTfS^                        001     JOHN AERNI     AMOUNT:$
                                                        11                                -[INITIAL]
                                                                                                                                 05/11/2016
                                                                                          COMPLAINT




                                                     2016-06-      DECISION + ORDER ON
                                      13     19                                                           001     COURT USER     AMOUNT:$
                                                        10               MOTION
                                                                                                                                 06/10/2016



                                                                                          NOTICE OF

                                                     2016-06-                            ENTRY OF SO
                                      11     21                      NOTICE OF ENTRY                      001     JOHN AERNI     AMOUNT:$
                                                        22                                 ORDERED
                                                                                                                                 06/22/2016
                                                                                         TRANSCRIPT




                                                     2016-06-        TRANSCRIPT. SO
                                      12     20                                                                   COURT USER     AMOUNT:$
                                                        22               ORDERED
                                                                                                                                 06/22/2016



                                                                                                                                 AMERICAN

                                                                                                                                  EXPRESS
                                                     2016-07-                                                       LORNA
                                      10     22                     NOTICE OF MOTION                      002                     AMOUNT:
                                                        13                                                        GOODMAN
                                                                                                                                    $45

                                                                                                                                 07/13/2016




                                                     2016-07-                                                       LORNA
                                             23                    MEMORANDUM OF LAW                      002                    AMOUNT:$
                                                        13                                                        GOODMAN
                                                                                                                                 07/13/2016




                                                     2016-07-                            LIST OF FCSC               LORNA
                                      8      24                         EXHISmS]                          002                    AMOUNT:$
                                                        13                                CLAIMANTS               GOODMAN
                                                                                                                                 07/13/2016



                                                                                                                                 AMERICAN

                                                                                                                                  EXPRESS
                                                     2016-07-                                                       LORNA
                                             25                      NOTICE OF APPEAL                                             AMOUNT:
                                                       20                                                         GOODMAN
                                                                                                                                    $65
                                                                                                                                 07/20/2016




                                                     2016-07-         PRE-ARGUMENT                                  LORNA
                                             26                                                                                  AMOUNT:$
                                                       20              STATEMENT                                  GOODMAN
                                                                                                                                 07/20/2016



                                                                                         STIPULATION
                                                                      STIPULATION -
                                                                                         TO ADJOURN
                                                                     ADJOURNMENT OF
                                                    2016-07-                              MOTION TO
                                             27                        MOTION -IN                         002     JOHN AERNI     AMOUNT:$
                                                       22                                  REARGUE
                                                                  SUBMISSIONS PART-RM                                            07/22/2016
                                                                                         UNTIL AUGUST
                                                                           130
                                                                                           25, 2016




http;//iapps.courts.state.ny.us/iscroll/SQLData.jsp?lndexNo=158124-2015&Submit2=Search                                                      3/4
       Case 1:15-cv-04614-AMD-SJB Document 54CaseFiled
8/27/20(17
                                                        08/28/17 Page 29 of 30 PageID #: 403
                                                  Information


                                    Sort      Doc         Date                                                           Motion                          Payment
                                                                                Document               Description                    Filing User
                                     By        #        Received                                                            #                              Info



                                                                                                      DEFENDANTS

                                                                                                      MEMORANDUM

                                                        2016-08-       MEMORANDUM OF LAW IN            OF LAW IN
                                               28                                                                         002        JOHN AERNI        AMOUNT:$
                                                           12                  OPPOSITION             OPPOSITION
                                                                                                                                                       08/12/2016
                                                                                                     TO MOTION TO

                                                                                                        REARGUE




                                                                                                      AFFIRMATION

                                                                               AFFIDAVIT OR            OF JOHN M.
                                                        2016-08-
                                               29                             AFFIRMATION IN          AERNI WITH          002        JOHN AERNI        AMOUNT:$
                                                           12
                                                                        OPPOSITION TO MOTION            EXHIBIT A                                      08/12/2016
                                                                                                    (BOOKMARKED)




                                                        2016-08-                                                                        LORNA
                                               30                                                                         002                          AMOUNT:$
                                                           22                                                                         GOODMAN
                                                                                                                                                       08/22/2016




                                                        2017-05-        DECISION + ORDER ON
                                               31                                                                         002        COURT USER        AMOUNT:$
                                                           03                    MOTION
                                                                                                                                                       05/03/2017




                                          Documents that have been entered into the minutes of the County Clerk bear a stamp stating "Filed," followed by the
                                          date of filing (entry date) and the words "New York County Clerk's Office." Except In matrimonial cases (documents for
                                          which are not included in Scroll), judgments are not entered by the County Clerk until an attorney for a party to the
                                          case appears at the Judgment Clerk's desk (Rm. 141B at 60 Centre Street) and requests entry. Copies of unfiled
                                          judgments bearing a stamp stating "Unfiled Judgment" and a notice to counsel may be found in Scroll. For technical
                                          reasons, some long form orders or other documents that were scanned in the early phase of this project may be
                                          categorized here as a "Decision."




                                                                                                                                            BACK I i NEW SEARCH




http://iapps.courts.state.ny.us/i$croil/SQLData.jsp?lndexNo=15|^;^j^^15&Submit2=Search                                                                             4/4
Case 1:15-cv-04614-AMD-SJB Document 54 Filed 08/28/17 Page 30 of 30 PageID #: 404




                                  AFFIRMATION OF SERVICE




  I, Sandra Simpson, declare under penalty of perjury, that I have served a copy of the

  foregoing letter to the Judge, with Exhibits, on opposing counsel:



                    Lorna Goodman

                    551 Madison Ave, 7^^ floor

                    NewYork, NY, 10022



  by: US Mail




  August 28, 2017



                                             Sandra Simpson

                                             419 Aderhold Rd

                                             Saxonburg, PA 16056

                                              724-352-9206

                                              simpsonfuture@gmail.com
